 

CaSe 18-10677 DOC 18 Filed 08/06/18 Ent fec 08 06/18 15239:09 Page 1 Of 11

 

Fill in this information to identify the case:

Debtor 1 Philip Fredric

Guidry

dba SMMG, LLC

Debtor 2 Debbie Tregre Guidry

 

(Spouse,ll(lling) .
United States Bankruptcy Court for lhe: Midd|e District of Louisiana
~ _ "_ isiaie)

Case number

18~10677

 

 

 

Official Form 427
Cover Sheet for Reaffirmation Agreement

12/15

Anyone who is party to a reaffirmation agreement may fill out and file this form. Fill it out complete|y, attach it to the reaffirmation agreement,
and file the documents within the time set under Bankruptcy Ru|e 4008.

mExplain the Repayment Terms of the Reaffirmation Agreement

 

1. Who is the creditor?

U.S. Bank National Association
Name of the creditor

 

2. How much is the debt?

On the date that the bankruptcy case is filed $ 11,318.06
To be paid under the reaffirmation agreement $ 11,324.62
§287.§5 per month for 51 months (if fixed interest rate)

 

 

 

 

nondischargeable?

3. What is the Annual Before the bankruptcy case was filed _______2~3§99%
Percentage Rate (APR)
of interest? (See Under the reaffirmation agreement 2.3500% Fixed rate
Bankruptcy Code I:| Adjustable rate
§ 524(k)(3)(E)-)
4. Does collateral secure C| No
the debf7 |Zl Yes. Describe the collateral 2016 MAZDA6, V|N: JM16J1U5961409092
Currenl market value $ 15,575.00
5. Does the creditor assert |Z| No
that the debt is El Yes. Attach an explanation of the nature of the debt and the basis for contending that the debt is nondischargeable.

 

6. Using information from
Schedule I: Yourlncome
(thcia| Form 106|) and
Schedule J: your
Expenses (Officia| Form
106J), fill in the amounts.

 

 

6a. Combined monthly income from $ 4,696.90 6e. Monthly income from all sources $ 4,696.90
line 12 of Schedule | after payroll deductions

6b. Monthly expenses from line 220 of - 6f. Monthly expenses - D
schedule J $___M $ j 1 z ’

60. Monthly payments on all - 6g_ Monthly payments on all - ,»-®_
reaffirmed debts not listed on $-__-____- reaermed debts not included in $--_-_--
Schedule J monthly expenses

6d, Scheduled net monthly income $ (26.15) 6h. Present net monthly income $ 29 " \b
Subtract lines 6b and 6c from 6a. Subtract lines 6f and 69 from 6e.
lf the total is less than 0, put the |f the total is less than 0, put the
number in brackets. number in brackets.

 

I`\“'.»l»\l l':nrm 1107

P»\\"\» th»\& inn DA¢“;~»»»\H»._ A _______ 4

 

 

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Debbie

First Name

Debtor 1

/

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Tregre
Middle Name

 

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Guidry Case number (if known) 18-10677

Last Name

 

7' Are the income amounts |{ No
on lines 6a and 6e
different?

El Yes.

Explain why they are different and complete line 10.

 

 

 

/
8_ Are the expense amounts E/ No
on lines 6b and 6f
different?

|:| Yes.

Explain why they are different and complete line 10.

 

 

 

9. ls the net monthly
income in line 6h less
than 07

Mo
’Db

A presumption of hardship arises (unless the creditor is a credit union).
Explain how the debtor will make monthly payments on the reaermed debt and pay other living expenses.

Com lete line 10. \ v
p jfc>v` \i\l`t\\ t‘pf\m`t\€\?_€, a€]c>`\' canal
reduce \`\v\no\ expenses 06 necéxec§.
\_) `

 

10. Debtor's certification
about lines 7-9

|f any answer on lines 7-9
is Yes, the debtor must
sign here.

lf all the answers on lines
7-9 are No, go to line 11.

| cerli

xMQ/w%»{

SignatureVof Debtor 1

that each explanation on lines 7- is true and correct.

Signature of Debtor 2 (Spouse Only'in a Joint Case)

 

11. Did an attorney represent E/No

the reaffirmation
agreement?

 

the debtor in negotiating El Yes.

Has the attorney executed a declaration or an affidavit to support the reaffirmation agreement?
El No
|:| Yes

 

 

m Sign Here

 

Whoever fills out this form
must sign here.

X

l certify that the attached agreement ls a true and correct copy of the reaffirmation agreement between the parties identified on
this Cover Sheet for Reaffirmation Agreement.

:M>/Vi;*\ saw

Si§nature

MM/DD/YYYY

y

 

Printed Name

Craig A. Edelman

Jason Cottri||

John Rafferty

Ju|ian T. Cotton

Mary Vitartas

Natalie Lea

14841 Da||as Parkway, Suite 425
Da||as, Texas 75254

 

(972) 643-6600
(972) 643-6698
E-mai|: consumer7@nbsdefaultservices.com

Check one:
l:l Debtor or Debtor's Attomey

n Creditor or Creditor's Attorney
Creditor's Authorized Agent

 

Official Form 427

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Cover Sheet for Reaffirmation Agreement

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Check One.

Presumption of Undue Hardship

l:l No Presumption of Undue Hardship

See Debtor's Statement in Support of Reaj'irmation,
Part II below, to determine which box to check.

 

 

 

UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF LOUISIANA

In Re: Philip Fredric Guidry § Case No. 18-10677
dba SMMG, LLC § Chapter 7
Debbie Tregre Guidry §
Debtors §

REAFFIRMATION DOCUMENTS

Name of Creditor: U.S. Bank National Association
[:l Check this box if Creditor is a Credit Union

PART I. REAFFIRMATION AGREEl\/[ENT

Reaftirming a debt is a serious financial decision. Before entering into this Reaftirmation Agreement, you
must review the important disclosures, instructions, and definitions found in Part V of this form.

A.
B.

Brief description of the original agreement being reaffirmed: Motor Vehicle Lien

AMoUNTREAFFlRMED; $11,324.62
The Amount Reaffirmed is the entire amount that you are agreeing to pay. This may include unpaid principal,
interest, and fees and costs (if any) arising on or before June 28, 2018, Which is the date of the Disclosure
Statement portion of this form (Part V).

See the definition of "Amount Reajj‘irmed" in Part V, Section C below.
The ANNUAL PERCENTA GE RATE applicable to the Amount Reaffirmed is 2.3500%.
See definition of ”Annual Percentage Rate" in Part V, Section C below.

This is a (check one) Fixed Rate E| Variable Rate

If the loan has a variable rate, the future interest rate may increase or decrease from the Annual Percentage Rate
disclosed here.

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D. Reaffirmation Agreement Repayment Terms (check and complete one):

|Xl $ 287.54 per month for 41 months starting on July 16, 2018

*On the maturity date, all outstanding amounts owed under this reaffirmation agreement shall be
immediately due and payable.

l:l Describe repayment terms, including whether future payment amount(s) may be different from the initial

payment amount

 

 

 

E. Describe the collateral, if any, securing the debt:

Description: 2016 MAZDA6, VIN: JMlGJlU59G1409092

Current Market Value: $15 ,5 75 .00

Did the debt that is being reaffirmed arise from the purchase of the collateral described above?
Yes. What was the purchase price for the collateral? $l6,246.50

El No. What was the amount of the original loan? $

Specify the changes made by this Reafflrmation Agreement to the most recent credit terms on the reaiiirmed
debt and any related agreement

Terms as of the Terms After

Date of Bankruptcy Reaffirmation

Balan°e D“e $11,318.06 $11,324.62
(including fees and costs)

Annual Percentage Rate 2.3500% 2.3500%

Monthly Payment $287.54 $287.54

E| Check this box if the creditor is agreeing to provide you with additional future credit in connection with
this Reaffirmation Agreement. Describe the credit limit, the Annual Percentage Rate that applies to
nature credit and any other terms on future purchases and advances using such credit:

 

 

PART II. DEBTOR'S STATEMENT IN SUPPORT OF REAFFIRMATION AGREEMENT

A.

B.

Were you represented by an attorney during the course of negotiating this agreement?
Check one. |:l Yes d No

Is the creditor a credit union?
Check one. El Yes No

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C. If your answer to EITHER question A. or B. above is "No" complete l. and 2. below.
l. Your present monthly income and expenses are:

a. Monthly income from all sources after payroll deductions $4,696.90
(take-home pay plus any other income)

b. Monthly expenses $ Li'L'i E,Z§. 5 l

(including all reaffirmed debts except this one)

 

c. Amount available to pay this reaffirmed debt $ 2~(€ \ 'Bq
(subtract b. from a.)

d. Amount of monthly payment required for this reaffirmed debt $287.54

If the monthly payment on this reajirmed debt (line d.) is greater than the amount you have available to
pay this reaffirmed debt nine c.), you must check the box at the top of page one that says ”Presumption
of Undue Hardship. " Otherwise, you must check the box at the top of page one that says "No
Presumption ofUndue Hardship. "

2. You believe that this reaffirmation agreement will not impose an undue hardship on you or your
dependents because:

Check one of the two statements below, if applicable:

El You can afford to make the payments on the reaffirmed debt because your monthly income is
greater than your monthly expenses even after you include in your expenses the monthly payments
E/ao all debts you are reaffirming, including this one.
Yo

u can aHord to make the payments on the reaffirmed debt even though your monthly income is
less than your monthly expenses after you include in your expenses the monthly payments on all

debts yo are reaffirming,_i cl ing this one, because: \
r_;sz,o~>.,\o>`, \;\\i \-QG on< summons oco, Mém,<§\

 

Use an additional page if needed for a full explanation

D. If your answers to BOTH questions A. and B. above were "Yes," check the following statement, if
applicable:

E| You believe this Reafiirmation Agreement is in your financial interest and you can afford to make
the payments on the reaffirmed debt.

Also, check the box at the top of page one that says ”No Presumption of Undue Hardship. "

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PART III. CERTIFICATION BY DEBTOR(S) AND sIGNATURES 0F PARTIES

I (We) hereby certify that:
(1). I (We) agree to reaffirm the debt described above.

(2). Before signing this Reaffirmation Agreement, I (we) read the terms disclosed in this
Reaffirrnation Agreement (Part I) and the Disclosure Statement, Instrnctions and
Defmitions included in Part V below;

(3). The Debtor's Statement in Support of Reaffirmation Agreement (Part II above) is true and
complete;

(4). I am (We are) entering into this agreement voluntarily and am (are) fully informed of my
(our) rights and responsibilities; and

(5). I (We) have received a copy of this completed and signed Reaffirmation Documents
form.
SIGNATURE(S) (If this is a joint Reafiirmation Agreement, both debtors must sign):

Date r\ ’ lol’ 10 lQ Signature WC>TW G\-»\`)~A"\"/§"

Debbie Tregre Guidry \'

Date 7'_} (7`/ Z Signature Q/£"’$/) 7/\4//¢( »V%/¢/?(¢s

Reaffirmation Agreement Terms Accepted by Creditor:

Creditor .S. Bank National Association 14841 Dallas Parkway, Suite 425, Dallas, Texas 75254
Print Name Address

 

 

 

 

Print Name of Representative ‘Mkz_-;_'_/" M/Y

craig A. Edelman sigéazure ' Date
Jason Cottrill
John Rafferty
Julian T. Cotton
Mary Vitartas
Natalie Lea

 

 

 

 

PART IV. CERTIFICATION BY DEBTOR'S ATTORNEY (IF ANY)

T 0 be filed only if the attorney represented the debtor during the course of negotiating this agreement

I hereby certify that: (l) this agreement represents a fully informed and voluntary agreement by the debtors; (2)
this agreement does not impose an undue hardship on the debtors or any dependent of the debtors; and (3) I have
fillly advised the debtors of the legal effect and consequences of this agreement and any default under this
agreement

El A presumption of undue hardship has been established with respect to this agreement In my opinion,
however, the debtors is(are) able to make the required payment

Check box, if the presumption of undue hardship box is checked on page 1 and the creditor is not a Credit
Union.

Date Signature of Debtor's Attomey
Print Name of Debtor's Attomey Greg Gouner

 

 

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B2400B (Form B2400B) (12/15)

UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF LOUISIANA

In Re: Philip Fredric Guidry § Case No. 18-10677
dba SMMG, LLC § Chapter 7
Debbie Tregre Guidry §
Debtors §

MOTION FOR APPROVAL OF REAFFIRMATION AGREEMENT

I (we) the debtor(s), affirm the following to be true and correct:
I am (We are) not represented by an attorney in connection with this reaffirmation agreement

I (We) believe this reaffirmation agreement is in my (our) best interest based on the income and expenses
I (we) have disclosed in my (our) Statement in Support of Reaflirmation Agreement, and because @rovide any
additional relevant reasons the court should consider):

Therefore, I (we) ask the court for an order approving this reaffirmation agreement under the following
provisions (check l;ll?plicable boxes):
1

l U.S.C. § 524(0)(6) (debtor is not represented by an attorney during
the course of the negotiation of the reaffirmation agreement)

El 11 U.S.C. § 524(m) (presumption of undue hardship has arisen
because monthly expenses exceed monthly income, as explained
in Part II of Form B2400A, Reafiirmation Documents)

signed; MQTT\_Q.O{L.Q_, CL/\;\M

Debbie Tregre Guidry `F

Dated: '_\ ’ lq ’ 10\§

 

Return to:

National Bankruptcy Services, LLC
14841 Dallas Parkway, Suite 300
Dallas, Texas 75254

 

 

 

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PART V. DISCLOSURE STATEMENT AND INSTRUCTIONS TO DEBTOR(S)

Before agreeing to reaffirm a debt, review the terms disclosed in the Reaffirmation Agreement (Part I
above) and these additional important disclosures and instructions.

Reaf`firming a debt is a serious financial decision. The law requires you to take certain steps to make sure the
decision is in your best interest, If these steps, detailed in Part B below, are not completed, the reaffirmation
agreement is not effective, even though you have signed it.

A. DISCLOSURE STATEMENT

l.

What are your obligations if you reaffirm a debt? A reaffirmed debt remains your personal legal
obligation. Your reaffirmed debt is not discharged in your bankruptcy case. That means that if you
default on your reaffirmed debt after your bankruptcy case is over, your creditor may be able to take your
property or your wages. Your obligations will be determined by the reaffirmation agreement, which may
have changed the terms of the original agreement If you are reaffirming an open end credit agreement,
that agreement or applicable law may permit the creditor to change the terms of that agreement in the
future under certain conditions.

Are you required to enter into a reaffirmation agreement by any law? No, you are not required to
reaffirm a debt by any law. Only agree to reaffirm a debt if it is in your best interest. Be sure you can
afford the payments that you agree to make.

What if your creditor has a security interest or lien? Your bankruptcy discharge does not eliminate
any lien on your property. A "lien" is often referred to as a security interest, deed of trust, mortgage, or
security deed. The property subject to a lien is often referred to as collateral Even if you do not reaffirm
and your personal liability on the debt is discharged, your creditor may still have a right under the lien to
take the collateral if you do not pay or default on the debt. lf the collateral is personal property that is
exempt or that the trustee has abandoned, you may be able to redeem the item rather than reaffirm the
debt. To redeem, you make a single payment to the creditor equal to the current value of the collateral, as
the parties agree or the court determines

How soon do you need to enter into and file a reaffirmation agreement? lf you decide to enter into a
reaffirmation agreement, you must do so before you receive your discharge After you have entered into
a reaffirmation agreement and all parts of this Reaffirmation Documents package requiring signature,
have been signed, either you or the creditor should file it as soon as possible The signed agreement must
be filed with the court no later than 60 days after the first date set for the meeting of creditors, so that the
court will have time to schedule a hearing to approve the agreement if approval is required. However, the
court may extend the time for filing, even after the 60-day period has ended.

Can you cancel the agreement? You may rescind (cancel) your reaffirmation agreement at any time
before the bankruptcy court enters your discharge, or during the 60-day period that begins on the date
your reaffirmation agreement is filed with the court, whichever occurs later. To rescind (cancel) your
reaffirmation agreement, you must notify the creditor that your reaffirmation agreement is rescinded (or
canceled). Remember that you can rescind the agreement, even if the court approves it, as long as you
rescind within the time allowed.

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6.

When will this reaffirmation agreement be effective?
a. lf you were represented by an attorney during the negotiation of your reaffirmation agreement

i. if the creditor is not a Credit Union, your reaffirmation agreement becomes effective upon
filing with the court unless the reaffirmation is presumed to be an undue hardship in which case
the agreement becomes effective only after the court approves it;

ii. if the creditor is a Credit Union, your reaffirmation agreement becomes effective when it is
filed with the court.

b. lf you were not represented by an attorney during the negotiation of your reaffirmation
agreement, the reaffirmation agreement will not be effective unless the court approves it. To have
the court approve your agreement, you must file a motion. See Instruction 5, below. The court will
notify you and the creditor of the hearing on your reaffirmation agreement You must attend this
hearing, at which time the judge will review your reaffirmation agreement lf the judge decides that
the reaffirmation agreement is in your best interest, the agreement will be approved and will become
effective However, if your reaffirmation agreement is for a consumer debt secured by a mortgage,
deed of trust, security deed, or other lien on your real property, like your home, you do not need to
file a motion or get court approval of your reaffirmation agreement

. What if you have questions about what a creditor can do? lf you have questions about reaffirming a

debt or what the law requires, consult with the attorney who helped you negotiate this agreement lf you
do not have an attorney helping you, you may ask the judge to explain the effect of this agreement to you
at the hearing to approve the reaffirmation agreement When this disclosure refers to what a creditor
"may" do, it is not giving any creditor permission to do anything The word "may" is used to tell you
what might occur if the law permits the creditor to take the action.

B. INSTRUCTIONS

l.

bJ

_LJI

Review these Disclosures and carefully consider your decision to reaffirm. lf you want to reaffirm,
review and complete the information contained in the Reaffirmation Agreement (Part l above). If your
case is a joint case, both spouses must sign the agreement if both are reaffirming the debt.

Complete the Debtor's Statement in Support of Reaffirmation Agreement (Part ll above). Be sure that
you can afford to make the payments that you are agreeing to make and that you have received a copy of
the Disclosure Statement and a completed and signed Reaffirmation Agreement.

If you were represented by an attorney during the negotiation of your Reaffrrmation Agreement, your
attorney must sign and date the Certification By Debtor's Attorney section (Part lV above).

You or your creditor must file with the court the original of this Reaffirmation Documents packet and a
completed Reaffirmation Agreement Cover Sheet (Official Bankruptcy Form 427).

[f you are not represented by an attorney you must also complete and file with the court a separate
document entitled "Motion for C ourt Approval of Reajj‘l`rrnation Agreement" unless your reaffrmation

agreement is for a consumer debt secured by a lien on your real property, such as your home. You can
use Form BZ4OOB to do this.

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C. DEFINITIONS

l.

"Amount Reaffirmed" means the total amount of debt that you are agreeing to pay (reaffirm) by
entering into this agreement The total amount of debt includes any unpaid fees and costs arising on or
before the date you sign this agreement that you are agreeing to pay. Your credit agreement may obligate
you to pay additional amounts that arise after the date you sign this agreement You should consult your
credit agreement to determine whether you are obligated to pay additional amounts that may arise after
the date of this agreement

"Annual Percentage Rate" means the interest rate on a loan expressed under the rules required by
federal law. The annual percentage Rate (as opposed to the "stated interest rate") tells you the full cost of
your credit including many of the creditor's fees and charges. You will find the annual percentage rate
for your original agreement on the disclosure statement that was given to you when the loan papers were
signed or on the monthly statements sent to you for an open end credit account such as a credit card.

"Credit Union" means a financial institution as defined in 12 U.S.C. § 461(b)(l)(A)(iv). lt is owned and
controlled by and provides financial services to its members and typically uses words like "Credit
Union" or initials like "C.U." or "F.C.U." in its name.

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B240C (FormBZ40C) (12/09)

UNITED STATES BANKRUPTCY COURT
FoR THE MIDDLE DrsTRrCT oF LoUrsrANA

ln re: Philip Fredric Guidry § Case No.: 18-10677
Debbie Tregre Guidry § Chapter: 7
Debtors §
§

ORDER ON REAFFIRMATION AGREEMENT
The debtors Philip Fredric Guidry and Debbie Tregre Guidry have filed a motion for approval of the

reaffirmation agreement dated made between the debtors and U.S. Bank National Association.

The court held the hearing required by ll U.S.C. § 524(d) on notice to the debtors and the creditor on

 

COURT ORDER: l:l The court grants the debtor's motion under ll U.S.C. § 524(c)(6)(A) and approves
the reaffirmation agreement described above as not imposing an undue hardship on
the debtors or a dependent of the debtors and as being in the best interest of the
debtors

l:l The court grants the debtor's motion under l 1 U.S.C. § 524(k)(8) and approves the
reaffirmation agreement described above.

|:| The court does not disapprove the reaffirmation agreement under ll U.S.C. §
524(m).

l:l The court disapproves the reaffirmation agreement under l l U.S.C. § 524(m).
|:l The court does not approve the reaffirmation agreement

BY THE COURT

Date:

 

Honorable Douglas D. Dodd
United States Bankruptcy Judge

l 2005-N-5()79

